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                                                                       STEVEN M .LARIMORE
   UN ITED STAT ES OF AM ER ICA                                        CLERK U.s.Dls'r cT.
                                                                        s D ofF!rA - MI
                                                                                      AMI
          Plaintiff


   VS .                                                 Case No : 1:17-20275-CR
                                                                       Ungaro
  KEV IN FU SCO
        Defendant


           MO T ION FOR LEAV E TO F IL E FOR PO ST CONV ICT ION HEA R ING


  COMES    NOW , Defendant , does hereby request                           file for

           conviction hearing


                                  STAN DA RD O F LAW

  According to the Supreme Court               United States        Miranda        the

  cour t sta te s :

        OWhether his convic tion was in a federal court or state
  court    a defendant may secure a post conviction hearing based
  on the alleged involuntary character of his confession , provided
  he meets the procedural requirement .''


  Defendant is requesting          such       hearing , due    to   the    attached

  argument in law . (Exhibit A )
                                  RELIEF REQUESTED

  Defendant ojfers       that he would NOT have plead guilty                 had

  been    properly    informed          the   law      by      court      appointed

  a rtorne y .

  Defendant KEVIN FUSCO           request this court grant leave to f tle

  for a hearihg in th is court on the issues as attached .


  Submitted this 16th f)f July 2018,


                      Xw
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                                  EXH IB TT A
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                                    The Issue

  Since 1947, the United States Department of Justjce, headed by the United
  States Attorney General, has continually and systematically falsely accused --
  and by way of unlawful indictments -- blackmailed and exhorted ''convictions''
  against HILLIONS of American cjtizens.

  The men and women, allegedly protecting our country, have instead created a
  machjne which feeds on innocent lives at an astonishing rate. This has placed
  0ur nation on the global map as having and majntaining the ''highest
  incarceration raten of the world.

  Their conspiracy is far more criminal than any of the alleged ''crimesl', whjch
  they are supposed to protect the United States government from.

  Ironically, the Unjted States Crimjnal Code, 18 j USC 371, states:

  If two or more persons conspire either to commit any nffense against the United
  States, or defraud the United States or any agency thereof in any manner or for
  any purposes and one or more of such persons do any act to effect the object of
  the conspbracy s each shall be fined under this title or imprisoned not mcre
  than five yearss or both.

  Th'
    e Department of Justice conspjres exactly ljke this against American
  citizens -- its own people -- each and every day.


  The followjng will show just how such a conspiracy has been Onjoinj -- for at
  least 70 years now ...

  The United States Sonstitution provides for certain protections. Beginning
  with Articles 1 through 3, it outljnes what these ''government'
                                                                ' powers entall
  and how those powers may be ''wieldedn. Hhen these iowers were written there
  Was no structured reiublic. These Articies are the nbackbone'' of Our federal
  government body . They are also instructive to the individual state bodies of
  government -- of the people, for the people, by the people.
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  Article l addresses the powers available by way of conjressional legislation.
  Any power accessed outside the actual texts of this body of work is, in fact,
  nunconstitutional''

  Article 11 addresses powers of the ''Executive Branch/' The same ''letter-of-
  the-law'' standards apply. Any and a11 pcwer exercised outside the body of 1aw
  is by definition unconstitutional.

  Article 111, the 'Q udicial Branchn, is the topic under consideration. It is
  the one most easily abused and most destructive when abused. ''Judicial power
  excesses'' are what the thirteen colonies were oppressed by and opposed to under
  the ''King and his courts''. As such, ''Judicial Fower'' (Article 111) required
  major reasoning. The founders were careful and precise with their wordings,
  particularly on this Article        their drafting of the Constitution. Justice
  must be available for all.

  0f primary importance js the part of Artjcle III that states: the powers of the
  judiciary shall extend to a11 cases in 1aw-.. This is how an injured party
  gains access to federal courts. If an ''injured party'' has a legal dispute and
  the nquestionable conduct'' is prohibited by one or more federal laws, then he,
  she or it can bring the ncase O before a federal court.        lawyer represents
  the ''injured party'' in most ''cases''

  For more than 200 years now, the United States Supreme Court has defjned, and
  continues to remind and clarify, what constitutes a ''casen. According to the
  Supreme Court, a ''case'' consists of three precise, mandatory elements, of which
      three must be in evidence to make a ''federai caseik First and foremost,
  there must be an ''injured party''who/that has ''standing'' to present his/her or
  its ''case''*

  Standing to sue is a doctrine rooted in the traditional enderstanding of a case
  or controversy ; the doctrine developed in our case 1aw to ensure that federal
  coerts do not exceed their aethority as it has been traditionally understood.
  See id., at 820, 117 S.Ct 2313, 138 L.Ed 2d 819. This doctrine limits the
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 category of litigants empowered tc maintain a lawsuit in federal court to seek
 redress for a legal wrong/' (See: Spokeo vs. Robinss S.Ct)

 Based on the doctrine of ''standing'' a litigant must meet three specific
 elements to gain court entrance and access Article III powers:

 0ur cases have established that the ''irreducible constitutional minimum'' of
  standing consists of three elements. Lujan, 504 U.S., at 560, l12 S.Ct 2130,
  119 L.Ed. 2d 351. The plaintiff must have
       1) suffered an injury in fact,
       2) that is fairly traceable to the challenged conduct of the defendants
          and
       3) that is likely to be redressed by a favorable judicial decision/'
          (Spokeo v Robins, 2016)

  The highest court in the nation further states that the burden of proof rests
  with the Flaintiff:


  The Plaintiff. as the party invoking federal jurisdictions bears the burden of
  establishing these elements/' (See: Spokeo)

  and further, that these facts must be clear:

  khere. as heres a case is at the pleading stagep the plaintiff must ''clearly
      allege facts demonstrating'' each element/' Harth, supra, at 518, 95 S.Ct
  2197, 45 L.Ed. 2d 343. (See: Spokeo)

  He now have a1l the makings        federal ''case''. As such, Federal Judjcjal
  powers provided under Artjcle III are available. The ''court js openn. Lackjng
  in ANY of the three required elements, judicial powers are not available. The
  ''court is closed/'

  The Supreme Court makes clear that the sjngle most jmportant element required
  is element    that of the ''Standing'' doctrine:
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 This case irimarily concerns injury in fact, the ''Lfqirst and foremost'' of
 standing's three elements/' Steel Co. v Citjzens for a Better Environment, 523
       83, 103, l18 S.Ct 1003, 140 L.Ed. 2d 210 (1998) (See: Spokeo)

 The court further reminds us of the constjtutional necessity of thïs ''standjng''
 doctrinal element:


 Injury in fact is a constitutional requirements and ''Lilt is settled that
 Congress cannot erase Article I1l's standing requirements by statetorily
 qranting the right to sue to a plaintiff who would not othe- ise have
 standing.'' (Spokeo)

  In other words, injury in fact, being made up of distinct factors, must be
 personal'' to the Plaintiff:


 The injury in fact requirement helps to assure that the plaintiff has a
 personal stake in the outcome of the controversy. (See: Susan B. Anthony List
  vs Driehaus, S.Ct. 2014)

  npartjcularization'' and Hconcreteness'' of the ''personal injuryn'

  For an injury to be ''particularized/' it must affect the plaintiff in
  personal and individual way. (îollection of seven Supreme Court cases, as
  relied on in Spokeo vs. Robins)

  The court further makes aware that more than i'personal'' is required:


  An injury in fact must also be ''concrete''. (Spokeo 2016)

  This ''concreteness'' factor must be ''realik


  A ''concrete'' injury must be ''de facto''; that is. it must actually exist.
  (Black's Law Dictionary 479 (9th Ed. 2009) (as relied upon in Spokeo v. qobins,
  2016)
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 The Supreme Court, as earlier stated, has been reminding the lower courts of
 this issue for many years:


 He have made it clear. time and time again, that an injury in fact must be both
 concrete and particularized/' See e.g., Susan B. Antl*ny List v. Driehauss 573
 U.S. ,      134 S.Ct. 2334, l89 L.Ed 2d 246 (2014)
             - -




 In otherwords, this argument is N0T raised for the first time.

 Before anyone gets the idea that this Doctrine of Law is only applicable to
 ''civi1 cases'';

  -..    the powers of the judiciary shall extend to a11 cases in 1aw and equity
  ...   '' (Art. 111, C1. 2)

 The Judicial powers, SHALL EXTEND T0 ALL CASES            This, of course, means the
 Criminal Process of Federal ''law'' as well.

                                      Abuse of Powers

 The United States prosecution teams have become nothing but political ''hit
 squadsn; bent or whatever the current politics wants. This destroys the United
 States Constitution. Hhen a judge, presidinj over a court, alig&s his or her
 ruljngs in support of this abuse of power, we have what our current presjdent
 has deemed: ''the Swampl'; and a ''Swamp'' is.

 Khen the 'iunited States of Amerjca'' appears             Federal Court, failjnj to
 allege and prove an ''injury in fact'' (Hblack eye''), a prosecuting attorney is
 accessing Article             ''power'' illegally; then gainqng a ''convlction'' and
 ''judjment''       is not legally entitled to. And people then get shipped
 prison -- jllegally .

    prosecutjon offjce for            presidency can unlawfully be used as 'street
 muscle'' to enforce ''party agendatspk         In      doing, this is illegal. The
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  Supreme Court states clearly, this is ''unconstltutional/'

  This has been the ''norm'' for many past presidents.

                               Constitutlonal Mandates

  According to Article kl of the qnjted States Constitution, the offjcers of the
  courts and the judges know thejr responsibilities are to uphold the
  Constitution:

  ...   and a11 executive and judicial officerss both of the United States and of
  the several states, shall be bound by oath or Affirmations to support the
  Constitution. (Art. V1, c1. 3)

 These same officerss also know the ''Senior Lawn of the land

 This Constitution. and the laws of the United States. which shall be made in
  purseance thereof ... shall be the Supreme Law of the Land. (Art. VI, c1. 2)

 Hhen a ''non-injured'' party presents a claim to the Federal court, thjs
  ''moot casen, and cannot be heard or decided:

 Moot case: A case that presents only an abstract question that does not arise
 from existing facts or rights. (Black's 10th Ed.)

 The Supreme Court stated: ... injury in fact, the first and foremost of
  standing's three elements (Spokeo, see pg. 2)

  it being quite clear that the ''injury in fact'' must affect the plaintiff in a
 personal and iqdividual way. (Spokeo, in a collection of seven separate cases).
 This gives ''Rights'' to the Plaintiff.

 As such, the United States of America prosecution ,           almost al1       its
 prosecutions, is bringing to the courts, ''cases'' of whjch have no legal ''right''
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  to proceed upon.

                                The Identified Cause

  This author offers the following factual based findings. As such, you are
  requirelldlo do your 0wn research to see if what you are reading is true.


  According to Title 18 j 3231, the federal courts hold ''Orïgjnal jurisdïction''
  over al1 offense against laws of the dnited States:

  The district court of the United States shall Ibave original jurisldiction,
  exclusive of the courts of the States, of a11 offenses against laws of the
  United States; (jn part)

  Please notice, shall have original jurisl  tiction. NoW look at this wording
  directly from the United States Constitution:

  In al1 cases affecting Ambassadors, other publïc ministries, and Consuls, and
  those in whlch a State shall be a Farty, the supreme Court shall have original
  jurisdiction. (Art. 111, sec.         2)

     you see that       body      congressionally passed 1aw conflicts with the
  Constitution (nsupreme Law of the Land'')? 8ut let's iook further: it gets
  much worse


  According to ''injury in fact'' under Article 111,           you have read, the
  Constitution notates ''standing''   a ''constitutjonal requirement''

  Going back to the j 371 ''conspiracy'' charje, look at this cljp:

  If two or more persons conspire either to commit any offense against the United
  States, or to defraud the United States or any agency thereof ... ''ajainst the
  dnited States'' (injured party).
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  He can clearly see that Congress found      necessary to uphold the well-
  established doctrine of ''standing'' in the wordjng of this 1aw (j 371
  ''Conspiracyn).

  Songress, under j 371, gave us a11 three elements of ''standing'';

  Element 1) requires ''injury in factn j 371 states:

  ...   commit any offense against the United States ...''


  Clearly we see the ''United Statesn would be the ''injured partyn.

  Element 2) requires: nthat is fairly traceable to the challenged conductts)
  (prohibited conduct)

  *ee commit any offense ...


  Clearly we see a federal law (''offensen) had to be violated causing ''injuryn;
  (the nchallengefl.conductn)

  Element 3) requjres ''redressabjlityd''

  each shall be fined under tN s title or imprisoned not more than five yearss or
  both

  And lastly , we see Conjress addressellI.
                                          the final      three elements: to have a
  ''casen; (this 1aw was passed 25 June 1948)

  In support of this, let's look at j 1964(c) of Title 18, which was passed in
  1970:


  Any person injured in his business or property...

  Do you see the evidence of Congress intending to address the constjtutional
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  requirement, ''flrst and foremost'' of ''injury in fact''? (element           of
  ''standingn) further along

  by reason of a violation of section 1962 of this chapter ...


  He see Conjress intending to address element 2) ''fairly traceable conduct''
  which was prohibited by federal law ...

  ... may sue therefore in any appropriate United States district court and shall
  recover threefold the damages he sustains and the cost of the suit including
  reasonable attorney's fees

  And, of     course, here we    have   the   thjrd element of    i'standingn, the
  redressabjlity element.

  Going back to ! 3231, take another look:

  The district court of the United States shall have original jurisdiction,
  exclusive of the states, of a11 offenses against laws of the United States.

  Faying close attention to that which is underlined, of course the distrjct
  federal court would address ''federal offensesn. lowever. notice that unlike
  the other two statutes        1aw we just covered, there is N0 mention of an
  ninjured party'' nor ''who''can bring a ''case'' into the district court involving
  a ''federal offense''. Sonjress gave standing without requiring any ''injury in
  factn, as is constitutionally protected.

  ...   Congress cannot erase Article lll's standinq requirements by statutorily
  granting the riglbt to sue to a plaintiff who would not olqerwise I
                                                                    qave standing.
  (See: Spokeo v Robins, 2016)

  The Attorney for the dnited States, has been getting away with not proving
  ''standing'' due to this error in statutory construction of law. This is how the
  prosecutors have been doing what they do. They simpiy say        ''He11, Conjress
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  said we could         However, you now know that Congress cannot erase Article
  III's standing requirements by statutorily granting the right to sue

  This must be fixed to stop the abuse of law. He need your help in spreading
  this to the people. He need to take our government back under our control.

  Abe Lincoln most famously stated:

  the people are the masters of both Congress and the courtss not to overthrow
  the Constitutions but to overthrow the men who would pervert it!

  Further, Thomas Jefferson states:

  khen the people fear their government, there is tyrrany .

  Do you fear our current government body? Jefferson stated in the same quote:

  khen the government fears the people. there is liberty.

  I don't kncw about you, but I choose the later.


                                      The Solution

  Congress can fix thjs       sjmply by rewriting the body         3231 to read
  something ljke this:

  The district court of the United States shall have original jurisdiction over
  a11 offenses against laws of the United Statess of #N 1% bring injury in fact
  to the United States or any of its agencies.

  This would assure that prosecution must only prosecute i'cases'' which bring
  about harm to the United States (or one of its agencies).

  This wculd further protect the States' rights, which are protected under the
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  10th Amendment. In other words, if the conduct happens to also be a ''legally
  groscribed conduct'' in the state, then the United States only has access to
  the ''conduct''      harms the United States. This is a growing issue in the
  legal marijuana industry, of which 28 states are currently exercising their
  10th Amendment rights over legalization of marijuana, medically or
  recreational.

  How does a11 this affect you? Let's take a look:


        If y0u were Dr. Brett Nadel Of Atlante, Georsia, you would be told that
  you ''injured'' a group of private health care companies (not the ''Unjted
  Statesn) by way of      (371) ''conspjracy'' (of which you had no personal
  knowledge). You would lose your license to practice, be shamed for no valid
 reasons, and told to plead to three years or face 20 years in prison. Then
 you would be encouraged to lie and say you were ''not coerced'' to change your
 plea.


 @) If you were Edward Forehand, a 7o-year-old Christian bookstore Owner,
 you would also be accused of a ''fraud conspiracy'' (of whjch you knew nothing)
  around the sale of ncookwarelk    ?ou would lose your famjly fortune of $2.6M
  in physical assets, bought and paid for long before selling the cookware.


  3)    If y0u were Frank Pate, a former adherent to Scientology, you would be
  accused of ''wire/maïl fraud'' by Jonathan Horwich of Chicago, lllinois. You
 would lûse ccntrol of al1 your business assets (in excess of $24M). Your wife
  and chjldren would be threatened to abandon you or your wife would face
  prosecution. Jonathan Horwich, by the way? heijhbor to Fresident Obama in
  lyde park and also the ''son-in-law'' of Scientology founder, L. Ron Hubbard.
 Agajn, N0 ''injury-jn-factn to the United States. No proof of fraud against
  Horwich either. Fate left Scjentology; HorWich pulled strlngs; Fate ''convjctedn.


 4)    If you were Herman and Jannette Jackson of Chlcago, Illjnojs, prjvate
  state-funded day-care operators, you would be accused of ''wire/mail frauding
  ''tl* State of Illinois out of $3-5 a day for 10 years. The State would not




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  prosecute you, yet instead, would let you be prosecuted by the ''United States
  of America'' who alleged 80 injury to jtself. Your wife, Jannette? She would
  choose prison instead of divorcing her husband (the government threatened such,
  just like Fates Wife, Leila Renzb Fate). A true witness testimony to her
  Christian faith, she stood strong.

         And back to Alabama;            you were          îampbell, an education
  professjonal, working for the University of Alabama, you would be charged wjth
  ''wjre fraud'' against the State of Alabama and the dniversity. ïet you would be
  charged by ''The United States of America''s a ''non-jnjured'' party. You would
  lose millions of dollars' worth of personal assets, family assets, and
  reputations of good standing, built over a lifetjme.

  Google these names. Read for yourself. tou could be next -- the next ''victim''
  of such abuse by the ''United States'' prosecution teamts). Thjs        rea1ly
  happening. This is ''real newsn.




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